     Case 1:21-cv-00400-APM Document 40-1 Filed 07/28/21 Page 1 of 27




                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


BENNIE G. THOMPSON et al.,
     Plaintiffs,

v.                                          Civil Action No. 1:21-cv-400-APM

DONALD J. TRUMP et al.,
    Defendants.


ERIC SWALWELL,
      Plaintiff,

v.                                          Civil Action No. 1:21-cv-586-APM

DONALD J. TRUMP et al.,
    Defendants.


JAMES BLASSINGAME and SIDNEY
HEMBY,
     Plaintiffs,

v.                                          Civil Action No. 1:21-cv-858-APM

DONALD J. TRUMP et al.,
    Defendants.



                     BRIEF OF AMICUS CURIAE JARED HOLT
                          IN SUPPORT OF PLAINTIFFS

Christine P. Sun                            Jonathan L. Williams
STATES UNITED DEMOCRACY CENTER              D.C. Bar No. 999708
3749 Buchanan St., No. 475165               JONATHAN L. WILLIAMS, P.A.
San Francisco, CA 94147-3103                113 South Monroe Street, First Floor
(615) 574-9108                              Tallahassee, FL 32301
christine@statesuniteddemocracy.org         (850) 706-0940
                                            jw@jonathanwilliamslaw.com


                               Counsel for Amicus Curiae
            Case 1:21-cv-00400-APM Document 40-1 Filed 07/28/21 Page 2 of 27




                                                     TABLE OF CONTENTS

Table of Authorities ........................................................................................................................ ii
Interest of Amicus Curiae ................................................................................................................ 1
Introduction and Summary of Argument......................................................................................... 2
Argument ......................................................................................................................................... 3
I.     Trump has embraced his supporters’ willingness to commit acts of violence on
       his behalf.................................................................................................................................. 4
       A.      Trump’s most extreme supporters have long taken his words as inspiration for
               violence. .......................................................................................................................... 4
       B.      Trump didn’t just know about his most extreme supporters’ capacity for violence;
               he celebrated it. ............................................................................................................... 6
       C.      Trump has cultivated connections to extreme elements of his base that have spawned
               violence. .......................................................................................................................... 8
II.    Responding to his baseless fraud accusations, Trump’s most extreme supporters
       promised to take up arms if asked. On January 6, they did. .................................................. 13
Conclusion ..................................................................................................................................... 19




                                                                         i
          Case 1:21-cv-00400-APM Document 40-1 Filed 07/28/21 Page 3 of 27




                                                TABLE OF AUTHORITIES

CASES

Ashcroft v. Iqbal,
  556 U.S. 662 (2009) .................................................................................................................... 2

Bell Atl. Corp. v. Twombly,
  550 U.S. 544 (2007) .................................................................................................................... 2

Texas v. Pennsylvania,
  141 S. Ct. 1230 (2020)............................................................................................................... 17

RULES

FED. R. EVID. 404(b)(2) ................................................................................................................... 6

COURT FILINGS

Aff. Supp. Crim. Compl., United States v. Biggs,
  Crim. No. 1:21-mj-126-RMM (D.D.C. filed Jan. 19, 2021) (Doc. 1-1).................................. 4, 8

First Superseding Indictment, United States v. Caldwell,
  Crim. No. 1:21-cr-28-APM (filed Feb. 19, 2021) (Doc. 27) ............................................... 13, 14

Fourth Superseding Indictment, United States v. Caldwell,
  Case No. 21-cv-28-APM (D.D.C. filed May 30, 2021) (Doc. 210) ............................................ 3

Mem. Supp. Mot. Dismiss, Blassingame v. Trump,
 Civ. A. No. 1:21-cv-858-APM (Doc. 10-1) ................................................................................ 2

Statement of Facts, United States v. Jensen,
  Crim. No. 1:21-cv-6-TJK (D.D.C. filed Jan. 8, 2021)............................................................... 16

Statement of Facts, United States v. Jensen,
  Crim. No. 1:21-cv-6-TJK (D.D.C. filed Jan. 8, 2021) (Doc. 1-1) ......................................... 4, 16

Statement of Facts, United States v. Schaffer,
  Crim. No. 1:21-cr-306-APM (D.D.C. filed Jan. 16, 2021) (Doc. 1-1) ........................................ 4

OTHER AUTHORITIES

Abby Ohlheiser, A Short History of Alex Jones Claiming that the Left Is About to
  Start a Second Civil War, WASH. POST, https://wapo.st/3hBljqT (July 3, 2018) ...................... 11




                                                                     ii
           Case 1:21-cv-00400-APM Document 40-1 Filed 07/28/21 Page 4 of 27




Adam Rawnsley, Trump Team Backs Away from Lin Wood After Pence Tweets, DAILY
  BEAST, https://bit.ly/3yPHShc (Jan. 1, 2021) ............................................................................ 16

Adele M. Stan, Oath Keepers’ Stewart Rhodes Calls for ‘Bloody War’ if Trump Doesn’t
  Invoke Insurrection Act, RIGHT WING WATCH, https://bit.ly/2VWpLrz (Dec. 14, 2020) ......... 17

Alan Rappeport, A Beating in Boston, Said to Be Inspired by Trump’s
  Immigrant Comments, N.Y. TIMES, https://nyti.ms/3yPItPX (Aug. 20, 2015) ....................... 5, 6

Alex Kaplan, A Pro-Trump Subreddit Is Full of Calls for Violence in Support of
  Oregon Republicans, MEDIA MATTERS FOR AM., https://bit.ly/3kBNzvr (June 24, 2019) ....... 11

Alex Kaplan, Lara Trump Shared a Video from One of the Biggest QAnon Accounts
  on the Internet, MEDIA MATTERS FOR AM., https://bit.ly/3i270KY (Mar. 13, 2020) .................. 9

Alexander Marlow et al., Exclusive—President Trump: Paul Ryan Blocked Subpoenas of
  Democrats, BREITBART NEWS, https://bit.ly/3hBRWVe (Mar. 13, 2019) .................................. 7

Alison Durkee, Trump Turns on Controversial Attorney Lin Wood and Endorses Opponent,
  FORBES, https://bit.ly/3hBLDkC (Mar. 30, 2021) ..................................................................... 16

Amy Gardner, ‘I Just Want to Find 11,780 Votes’: In Extraordinary Hour-Long Call,
 Trump Pressures Georgia Secretary of State to Recalculate the Vote in His Favor, WASH.
 POST., https://wapo.st/3wYfyI4 (Jan. 3, 2021) .......................................................................... 17

Amy Gardner, Wisconsin and Arizona Make It Official as Trump Fails To Stop Vote
 Certification in All Six States Where He Contested His Defeat, WASH. POST,
 https://wapo.st/3BAV7o6 (Nov. 30, 2020) ................................................................................ 17

Andrew McGill, How Donald Trump Beat Reddit, THE ATLANTIC, https://bit.ly/3rgB3Tn
  (July 27, 2016) ........................................................................................................................... 11

Andrew Restruccia et al., ‘Get Scavino in Here’: Trump’s Twitter Guru Is the Ultimate
  Insider, POLITICO, https://politi.co/3B0rix6 (May 6, 2019) ...................................................... 11

Annie Karni & Maggie Haberman, Trump Openly Condones Supporters Who Violently
  Stormed the Capitol, Prompting Twitter to Lock His account, N.Y. TIMES,
  https://nyti.ms/2VxGOjx (Jan. 6, 2021) .................................................................................... 18

Anti-Defamation League, CNN Gives Platform to Conspiracy Theorist Alex Jones,
  https://bit.ly/3erYOCA (Jan. 9, 2013) ....................................................................................... 10

Antonia Noori Farzan, Pointing to Trump’s Rhetoric, Attorneys for Kansas Militiamen
  Convicted of Mosque Bomb Plot Ask for More Lenient Sentence, WASH. POST,
  https://wapo.st/2U2WWcv (Oct. 30, 2018) ................................................................................. 5



                                                                      iii
           Case 1:21-cv-00400-APM Document 40-1 Filed 07/28/21 Page 5 of 27




Armed Men Arrested Near Phila. Vote Counting Location, AP, https://bit.ly/3B6jKsm
  (Nov. 5, 2020) ............................................................................................................................ 16

Catherine Lucey, Trump Praises QAnon Followers as “People That Love Our Country”,
  WALL. ST. J., https://on.wsj.com/3kcH6GU (Aug. 19, 2020) ..................................................... 9

Christopher Mathias, After Trump’s Defeat, His Supporters Held a Heavily Armed Pity
  Party, HUFFINGTON POST, https://bit.ly/3AZ2gOV (Nov. 8, 2020) .......................................... 16

Colin Dwyer, Donald Trump: ‘I Could … Shoot Somebody, and I Wouldn’t Lose Any
  Voters, NPR, https://n.pr/3ehTC44 (Jan. 23, 2016)................................................................... 12

DFRLab, #StopTheSteal: Timeline of Social Media and Extremist Activities Leading to
 1/6 Insurrection, JUST SECURITY, https://bit.ly/3hyU5kA (Feb. 10, 2021) ........................passim

Eliza Relman, Carpe Donktum, the Pro-Trump ‘Memesmith” Who Visited the White House,
  Is Working with the Creator of the Fake Trump Church Massacre Video, BUS. INSIDER,
  https://bit.ly/3AZhcMS (Oct. 14, 2019) .................................................................................... 12

Elizabeth Williamson, How Alex Jones and Infowars Helped a Florida Man Torment Sandy
  Hook Families, N.Y. TIMES, https://nyti.ms/2UUIwv4 (Mar. 29, 2019) .................................. 10

Eric Levitz, Trump on His Supporters Attacking Protesters: ‘That’s What We Need More
  of’, NEW YORK, https://nym.ag/2VTiJ78 (Mar. 11, 2016) .......................................................... 6

FBI, Adherence to QAnon Conspiracy Theory by Some Domestic Violent Extremists
  (June 4, 2021) .............................................................................................................................. 9

Frontline, Alex Jones and Donald Trump: How the Candidate Echoed the Conspiracy
  Theorist on the Campaign Trail, https://to.pbs.org/3yQmEzQ (July 28, 2020) ........................ 10

Hannah Trudo et al., Far-Right Proud Boys Rally After Trump’s Debate Defense: ‘Fuck
  Them Up’, DAILY BEAST, https://bit.ly/3B4sb7R (Sept. 30, 2020) ............................................. 8

Jack Brewster, Eric Trump Promotes QAnon Conspiracy on Instagram While Plugging
  Tulsa Rally, FORBES, https://bit.ly/3AYnz36 (June 20, 2020) .................................................... 9

James Suber, Ctr. for Strategic & Int’l Studies, Examining Extremism: QAnon,
  https://bit.ly/3xP2J4a (June 10, 2021) ......................................................................................... 9

Jamie Gangel et al., New Details About Trump-McCarthy Shouting Match Show Trump
  Refused to Call off the Rioters, CNN, https://cnn.it/3kn4qSm (Feb. 12, 2021) ........................ 18

Jana Winter, Exclusive: FBI Document Warns Conspiracy Theories Are a New Domestic
  Terrorism Threat, YAHOO! NEWS, https://yhoo.it/3z9H07f (Aug. 1, 2019)................................ 9



                                                                       iv
           Case 1:21-cv-00400-APM Document 40-1 Filed 07/28/21 Page 6 of 27




Jane Lytvynenko & Christopher Miller, The Proud Boys Got a Bunch of New Followers
  After Trump Said to “Stand By”, BUZZFEED, https://bit.ly/3r6gAAq (Sept. 30, 2020) ........ 8, 15

Jane Lytvynenko & Molly Hensley-Clancy, The Rioters Who Took Over the Capitol Have
  Been Planning Online in the Open for Weeks, BUZZFEED, https://bit.ly/3BitWyn
  (Jan. 6, 2021) ............................................................................................................................. 12

Jared Holt, Alex Jones and Eric Bolling Flaunt Their Access to Trump, RIGHT WING WATCH,
   https://bit.ly/3i2vBzf (Sept. 13, 2018) ....................................................................................... 10

Jared Holt, Longtime Trump Ally Roger Stone: “I Certainly Hope Q Is Real’, RIGHT WING
   WATCH, https://bit.ly/3xPQhRI (July 2, 2020) ............................................................................ 9

Jared Holt, Trump Sides with Armed Protesters in Michigan: A ‘Very Fine People’ Sequel,
   RIGHT WING WATCH, https://bit.ly/3rbiK1y (May 1, 2020) ........................................................ 7

Jon Sharman, ‘This Is More Like It’: White Supremacists React to Trump’s ‘Blame on Both
  Sides’ Press Conference, THE INDEPENDENT, https://bit.ly/36BhxqU (Aug. 16, 2017) .............. 6

Katie Shepherd, Armed Protesters Alleging Voter Fraud Surrounded the Home of
  Michigan’s Secretary of State, WASH. POST, https://wapo.st/3yXBRip (Dec. 7, 2020) ........... 16

Katie Shepherd, Trump Cheers Supporters Who Swamped a Biden Bus in Texas, WASH.
  POST, https://wapo.st/3kbgp5j (Nov. 2, 2020) ............................................................................. 7

Kenneth P. Vogel, White Nationalist Claims Trump Directed Rally Violence, POLITICO,
  https://politi.co/2T4sbmX (Apr. 17, 2017) .................................................................................. 5

Lauren Villagran, El Paso Shooting Suspect’s Hate-Filled Writing Used Similar Language as
  Trump Campaign, EL PASO TIMES, https://bit.ly/3r2IqO6 (Aug. 6, 2019) .................................. 5

Linda So, Trump-Inspired Death Threats Are Terrorizing Election Workers, REUTERS
  https://reut.rs/36D3CRa (June 11, 2021) ................................................................................... 16

Ltr. from V.P. Mike Pence to Congress (Jan. 6, 2021) ................................................................. 17

Luke Mullins, Inside the Mind of the MAGA Bomber, the Trump Superfan Who Tried to
  Wreak Havoc on the Last National Election, WASHINGTONIAN, https://bit.ly/3r4M4XG
  (Aug. 13, 2020) ............................................................................................................................ 5

Madison Malone Kircher, Is Donald Trump Getting His News from Reddit?, NEW YORK,
 https://nym.ag/2UHLcMv (May 11, 2017)................................................................................ 11

Maegan Vazquez and Nikki Carvajal, Trump Appears to Give a Pass to the Domestic
 Kidnapping Plot Against Whitmer, CNN, https://cnn.it/3rjqqiz (Oct. 27, 2020) ........................ 7



                                                                       v
          Case 1:21-cv-00400-APM Document 40-1 Filed 07/28/21 Page 7 of 27




Marie C. Baca, Who Was at Trump’s Social Media Summit, WASH. POST.,
 https://wapo.st/3hBz1Kj (July 11, 2019) ..................................................................................... 9

Marissa J. Lang et al., After Thousands of Trump Supporters Rally in D.C., Violence Erupts
 When Night Falls, WASH. POST, https://wapo.st/3hPMnT5 (Nov. 15, 2020)............................ 17

Michael Edison Hayden, Neo-Nazis and White Nationalists Are Recruiting Trump Supporters
 Who Are Mad at Colin Kaepernick, NEWSWEEK, https://bit.ly/3hEhoJS (Oct. 12, 2017) ........ 12

Michelle Ye Hee Lee, Trump ‘Looking into’ Paying Legal Fees for Man Charged with
 Assault at Rally, WASH. POST., https://wapo.st/3yNf0WE (Mar. 13, 2016) ............................... 6

Mike Giglio, A Pro-Trump Militant Group Has Recruited Thousands of Police, Soldiers,
 and Veterans, THE ATLANTIC, https://bit.ly/36ClT0Z (Nov. 2020) .................................... 11, 12

Nicholas Bogel-Burroughs et al., F.B.I. Says Michigan Anti-Government Group Plotted to
  Kidnap Gov. Gretchen Whitmer, N.Y. TIMES, https://nyti.ms/3reYRXx (Oct. 8, 2020) ............ 7

Oath Keepers, Call to Action! March on DC, Stop the Steal, Defend the President, &
  Defeat the Deep State, https://archive.is/ZRvMC#selection-1135.0-1135.143
  (archived Nov. 17, 2020) ........................................................................................................... 14

Paul P. Murphy, InfoWars’ Alex Jones Helped Jumpstart January 6 Rally Organization
  Efforts, CNN, https://cnn.it/36EWi7z (Jan. 31, 2021)............................................................... 11

Peter Jamison et al., ‘The storm is here’: Ashli Babbitt’s Journey from Capital ‘Guardian’ to
  Invader, WASH. POST., https://wapo.st/36HM6eH (Jan. 10, 2021) ........................................... 16

Rachel E. Greenspan, Trump Continues to Promote Conspiracy Theories from a Rapidly
  Rising QAnon Star, BUS. INSIDER, https://bit.ly/3r8cJCQ (Dec. 15, 2020) ............................... 15

Sarah Posner, How Donald Trump’s New Campaign Chief Created an Online Haven for
  White Nationalists, MOTHER JONES, https://bit.ly/2Uu7XE7 (Aug. 22, 2016) ........................... 7

Stephanie Mencimer, PizzaGate Shooter Read Alex Jones. Here Are Some Other Fans Who
  Perpetrated Violent Acts., MOTHER JONES, https://bit.ly/3ripTgC (Dec. 12, 2016) .................. 10

Sunlen Serfaty et al., As Riot Raged at Capitol, Trump Tried to Call Senators to Overturn
  Election, CNN, https://cnn.it/3wXgCvD (Jan. 8, 2021) ............................................................ 18

Suzanne Gamboa, Donald Trump Announces Presidential Bid by Trashing Mexico, Mexicans,
  NBC NEWS, https://nbcnews.to/3z8LLOf (June 16, 2015) ......................................................... 4

The Three Percenters – Original, TTPO Stance on Election Fraud, https://archive.is/YemCC
  (archived Dec. 16, 2020) ........................................................................................................... 15



                                                                   vi
         Case 1:21-cv-00400-APM Document 40-1 Filed 07/28/21 Page 8 of 27




Timothy Johnson, Militia Leader Stewart Rhodes Says That His Group Will Be at Polling
  Locations and Is Ready to Kill Democrats, MEDIA MATTERS FOR AM.,
  https://bit.ly/2UMUWVE (Oct. 28, 2020) ................................................................................. 14

Tina Nguyen, Trump Isn’t Secretly Winking at QAnon. He’s Retweeting Its Followers.
  POLITICO, https://politi.co/36z3XVa (July 12, 2020) .................................................................. 9

Victoria Bekiempis, Who Are the Oath Keepers and Why Are They in Ferguson with an
  Inforwars.com Reporter?, NEWSWEEK, https://bit.ly/3zaLmuR (Aug. 11, 2015) ..................... 11

Will Sommer & Asawin Suebsaeng, Trump Meets QAnon Kook Who Believes Democrats Run
 Pedophile Cult, DAILY BEAST, https://bit.ly/3wwSujz (Aug. 25, 2018) ..................................... 9

Will Somner, QAnon, the Crazy Pro-Trump Conspiracy, Melts Down Over OIG Report, DAILY
 BEAST, https://bit.ly/3zfQkGN (June 19, 2018) .......................................................................... 5

William Cummings et al., By the numbers: President Donald Trump’s Failed Efforts to Overturn
 the Election, USA TODAY, https://bit.ly/3rxbYDH (Jan. 6, 2021) ............................................ 17




                                                            vii
       Case 1:21-cv-00400-APM Document 40-1 Filed 07/28/21 Page 9 of 27




                              INTEREST OF AMICUS CURIAE1

       Jared Holt is a resident fellow of the Digital Forensic Research Lab (DFRLab) at the

Atlantic Council, where he oversees research into domestic extremism. Among other missions,

DFRLab seeks to monitor and combat online disinformation campaigns by domestic violent

extremists. For several years, Mr. Holt has carefully studied and reported on the activities of

domestic extremists who have supported former President Trump, including during the period

leading to January 6. DFRLab’s work related to the issues in this case includes publishing a

timeline of key events leading to the January 6 insurrection. See DFRLab, #StopTheSteal:

Timeline of Social Media and Extremist Activities Leading to 1/6 Insurrection, JUST SECURITY,

https://bit.ly/3hyU5kA (Feb. 10, 2021). Mr. Holt is widely recognized as an expert in domestic

extremism. His work has been published in various outlets, including the Washington Post, Right

Wing Watch, and the Columbia Journalism Review.

       As a result of his work and expertise, Mr. Holt has an interest in enhancing public

understanding of former President Trump’s cultivation of domestic violent extremists,

particularly in the run-up to the violent insurrection on January 6.




       1
         No party’s counsel authored this brief, in whole or in part, and no party’s counsel made
a monetary contribution to fund the preparation or submission of this brief. No person or entity
other than amicus curiae or his counsel contributed money that was intended to fund preparing or
submitting the brief.

                                                 1
      Case 1:21-cv-00400-APM Document 40-1 Filed 07/28/21 Page 10 of 27




                     INTRODUCTION AND SUMMARY OF ARGUMENT

          The insurrectionist attack on the U.S. Capitol on January 6 was not spontaneous. The

assault that unfolded as Congress convened a joint session to certify Joe Biden’s victory in the

2020 election was the direct result of a months-long disinformation campaign promoted by then-

President Donald Trump; coordinated by some of his most fervent, conspiratorial supporters; and

executed by groups that had publicly declared their willingness to commit violence on Trump’s

behalf.

          The plaintiffs in these three cases allege that former President Trump intended for his

supporters to unlawfully disrupt Congress’s constitutionally mandated count of the Electoral

College votes on January 6. Trump contends, however, that his “words and actions . . . show that

he wanted nothing more than an effective, peaceful, and patriotic demonstration in support of

election integrity” and seeks dismissal on this basis.2 The Court should reject this argument.

          A lawsuit should proceed past the motion-to-dismiss stage when its allegations are

plausible. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). When undertaking this “context-specific”

task of assessing whether the complaints’ allegations that Trump intended the historic violence

that occurred, the Court is entitled to use its “experience and common sense.” Id. at 679. It need

only conclude that there is “a reasonable expectation that discovery will reveal” evidence of

culpable conduct. See Bell Atl. Corp. v. Twombly, 550 U.S. 544, 556 (2007).

          In conducting this analysis, the Court may find it helpful to consider the complaints’

allegations in the context of Trump’s long—and public—embrace of his most extreme

supporters’ violence. This history, which I and many others whose work is cited here have

carefully documented since before Trump became president, confirms that the plaintiffs’


          2
       See, e.g., Mem. Supp. Mot. Dismiss 32, Blassingame v. Trump, Civ. A. No. 1:21-cv-
858-APM (Doc. 10-1).

                                                   2
      Case 1:21-cv-00400-APM Document 40-1 Filed 07/28/21 Page 11 of 27




allegations that former President Trump intended to incite the violent events of January 6 are

more than plausible. From asserting that there were “good people on both sides” in

Charlottesville, to praising the “tough people” among his supporters who can turn “very bad,

very bad” if needed, Trump has, for years, consistently and openly showed these supporters that

he approves of them and their violence. As documented below, in the weeks leading to January

6, Trump continued to court these most violent elements of his base while inundating them with

false claims of election fraud. He did this knowing that his most extreme supporters were

publicly pledging to use violence to keep Trump in office and actively demonstrating that

commitment by participating in armed and violent demonstrations across the country after the

2020 election. Indeed, given Trump’s increasingly desperate efforts to block the election results,

it is more than plausible that Trump intended for those attendees to do whatever it took to disrupt

the last step before Joe Biden’s victory became official—Congress’s January 6 count of the

Electoral College votes—including committing the violence they said they were prepared to

commit.

       These unprecedented acts support the plausibility of the plaintiffs’ detailed allegations

that Trump intended for his supporters to violently disrupt Congress’s proceedings on January 6.

The Court should allow discovery to proceed on those allegations.

                                          ARGUMENT

       The January 6 attack on the Capitol was carried out by a collection of violent extremists,

including the Oath Keepers, the Proud Boys, the Three Percenters, and adherents of the QAnon

conspiracy theory.3 Since Trump began his campaign, he has carefully cultivated these elements


       3
        See, e.g., Fourth Superseding Indictment, United States v. Caldwell, Case No. 21-cv-28-
APM (D.D.C. filed May 30, 2021) (Doc. 210) (charging members of the Oath Keepers);
Statement of Facts, United States v. Schaffer, Crim. No. 1:21-cr-306-APM (D.D.C. filed Jan. 16,



                                                 3
      Case 1:21-cv-00400-APM Document 40-1 Filed 07/28/21 Page 12 of 27




of his base, elevating them to unprecedented prominence and embracing them when they

committed violence. When Trump engaged in a relentless, deceitful campaign to overturn the

results of an election he lost, these extremist supporters announced that they stood ready to

commit violence on Trump’s behalf. And on January 6, after Trump summoned them to

Washington, they did just that.

I.     Trump has embraced his supporters’ willingness to commit acts of violence on his
       behalf.

       The story of January 6 begins well before that day or even the 2020 election. January 6

was not the first time that Trump’s words inspired violent action—far from it. Trump supporters’

record of violence dates to at least the beginning of Trump’s campaign in 2015. Since then,

Trump has repeatedly encouraged his supporters’ willingness to fight. January 6 was merely the

latest iteration of this phenomenon.

       A.      Trump’s most extreme supporters have long taken his words as inspiration
               for violence.

       Since the beginning of his campaign, Trump’s words have led his supporters to commit

violence. Trump launched his campaign by denouncing Mexican immigrants, claiming, “They’re

bringing drugs, they’re bringing crime. They’re rapists and some, I assume, are good people.”4

Months later, Trump supporters in Boston attacked a Hispanic homeless man they believed to be

undocumented, urinating on him, beating him with a metal bar, and yelling, “Donald Trump was




2021) (Doc. 1-1) (factual stipulation accompanying guilty plea of Oath Keepers member); Aff.
Supp. Crim. Compl. ¶¶ 25-30, United States v. Biggs, Crim. No. 1:21-mj-126-RMM (D.D.C.
filed Jan. 19, 2021) (Doc. 1-1) (attesting to Proud Boys members’ coordinated breach of the
Capitol); Statement of Facts 1-2, United States v. Jensen, Crim. No. 1:21-cv-6-TJK (D.D.C. filed
Jan. 8, 2021) (Doc. 1-1) (charging a knife-wielding QAnon adherent who led a mob of insurgents
chasing a Capitol Police officer).
        4
          Suzanne Gamboa, Donald Trump Announces Presidential Bid by Trashing Mexico,
Mexicans, NBC NEWS, https://nbcnews.to/3z8LLOf (June 16, 2015).

                                                 4
      Case 1:21-cv-00400-APM Document 40-1 Filed 07/28/21 Page 13 of 27




right.”5 Shortly before the 2016 election, three Kansans inspired by Trump’s anti-Muslim

rhetoric plotted to bomb an apartment and Mosque frequented by Somalis.6 At trial, prosecutors

played recordings of the defendants planning to kill Muslims with weapons dipped in pigs’

blood, echoing an apocryphal story about General John Pershing that Trump had recounted on

the campaign trail.7 In 2017, two Trump supporters claimed that they were acting at Trump’s

behest after allegedly assaulting a protestor at a Trump rally in Kentucky.8 In 2018, another

supporter and QAnon adherent got into an armed standoff with law enforcement after becoming

disappointed with Trump’s failure to “lock certain people up if you were elected.”9 That same

year, another Trump supporter mailed bombs to prominent Trump critics across the country.10

And in 2019, after echoing Trump’s rhetoric about an immigrant invasion in a post to a far-right

online bulletin board, another Trump supporter murdered 22 people (mostly Hispanic) and

wounded 25 others in El Paso.11 From these and other incidents, it was clear long before January

6 that Trump’s words could inspire his supporters to commit violence.




       5
          Alan Rappeport, A Beating in Boston, Said to Be Inspired by Trump’s Immigrant
Comments, N.Y. TIMES, https://nyti.ms/3yPItPX (Aug. 20, 2015).
        6
          Antonia Noori Farzan, Pointing to Trump’s Rhetoric, Attorneys for Kansas Militiamen
Convicted of Mosque Bomb Plot Ask for More Lenient Sentence, WASH. POST,
https://wapo.st/2U2WWcv (Oct. 30, 2018).
        7
          Id.
        8
          Kenneth P. Vogel, White Nationalist Claims Trump Directed Rally Violence, POLITICO,
https://politi.co/2T4sbmX (Apr. 17, 2017).
        9
          Will Somner, QAnon, the Crazy Pro-Trump Conspiracy, Melts Down Over OIG Report,
DAILY BEAST, https://bit.ly/3zfQkGN (June 19, 2018).
        10
           Luke Mullins, Inside the Mind of the MAGA Bomber, the Trump Superfan Who Tried
to Wreak Havoc on the Last National Election, WASHINGTONIAN, https://bit.ly/3r4M4XG (Aug.
13, 2020).
        11
           Lauren Villagran, El Paso Shooting Suspect’s Hate-Filled Writing Used Similar
Language as Trump Campaign, EL PASO TIMES, https://bit.ly/3r2IqO6 (Aug. 6, 2019).

                                                5
       Case 1:21-cv-00400-APM Document 40-1 Filed 07/28/21 Page 14 of 27




       B.      Trump didn’t just know about his most extreme supporters’ capacity for
               violence; he celebrated it.

       It is one thing to have supporters who commit violent acts. It is another to encourage their

violence—whether by declining to roundly condemn the violence, or openly praising those

supporters for their violence, as Trump has done repeatedly. Indeed, Trump’s praise of his

violent supporters provides a strong foundation for the plaintiffs’ allegations that Trump intended

violence to occur on January 6.12

       A few examples illustrate this pattern. Asked about his supporters’ 2015 assault of the

homeless Hispanic man in Boston mentioned above, Trump praised his supporters as “very

passionate” people who “love this country and want this country to be great again.”13 During his

2016 campaign, Trump pledged to pay legal fees of people who “knock[ed] the crap” out of

protestors at his rallies; they did.14 After the white supremacist Unite the Right rally in

Charlottesville, Virginia disintegrated into violence, Trump famously insisted in a series of

statements that there was “blame on both sides.”15 Even though Trump eventually criticized the

violence in passing, white supremacist leaders celebrated the remarks, with users on the social-

media platform Gab “fist-pumping” and cheering that Trump “came through for us.”16

       Despite the widespread criticism of his Charlottesville remarks, Trump continued to

celebrate his supporters’ violent tendencies. In 2019, he told alt-right outlet Breitbart News that



       12
           Cf. FED. R. EVID. 404(b)(2) (permitting prior acts evidence to show intent, plan, and
knowledge, among other facts).
        13
           Rappeport, supra note 5.
        14
           Michelle Ye Hee Lee, Trump ‘Looking into’ Paying Legal Fees for Man Charged with
Assault at Rally, WASH. POST., https://wapo.st/3yNf0WE (Mar. 13, 2016); Eric Levitz, Trump on
His Supporters Attacking Protesters: ‘That’s What We Need More of’, NEW YORK,
https://nym.ag/2VTiJ78 (Mar. 11, 2016).
        15
           Jon Sharman, ‘This Is More Like It’: White Supremacists React to Trump’s ‘Blame on
Both Sides’ Press Conference, THE INDEPENDENT, https://bit.ly/36BhxqU (Aug. 16, 2017).
        16
           Id.

                                                  6
       Case 1:21-cv-00400-APM Document 40-1 Filed 07/28/21 Page 15 of 27




his supporters included “tough people” who “don’t play it tough—until they go to a certain point,

and then it would be very bad, very bad.”17 When armed militia members and other extremists

occupied Michigan’s capitol in spring 2020, Trump sided with them. They were “very good

people” who were “angry”; Governor Gretchen Whitmer—who was the target of a kidnapping

plot by a right-wing militia months later—should “give a little,” he wrote, to “put out the fire.”18

After the kidnapping plot was revealed, Governor Whitmer faulted Trump’s rhetoric: “Every

time the president ramps up this violent rhetoric, every time he fires up Twitter to launch another

broadside against me, my family and I see a surge of vicious attacks sent our way. This is no

coincidence, and the President knows it.”19 After supporters surrounded and slowed a Biden-

Harris campaign bus on a Texas interstate in 2020, Trump did not condemn their actions or

express concern for those affected. Instead, he praised those supporters, tweeting a video of the

incident with the text “I LOVE TEXAS!” Trump would later claim that his supporters were

“protecting” the bus and criticize the FBI’s investigation of the incident, chiding it to focus

instead on “Antifa,” a consistent target of Trump’s deflections.20

       After repeatedly evading requests to condemn white supremacists during the 2020

campaign, Trump told one such group, the Proud Boys, to “stand back and stand by” before a




       17
           Alexander Marlow et al., Exclusive—President Trump: Paul Ryan Blocked Subpoenas
of Democrats, BREITBART NEWS, https://bit.ly/3hBRWVe (Mar. 13, 2019); Sarah Posner, How
Donald Trump’s New Campaign Chief Created an Online Haven for White Nationalists,
MOTHER JONES, https://bit.ly/2Uu7XE7 (Aug. 22, 2016).
        18
           Jared Holt, Trump Sides with Armed Protesters in Michigan: A ‘Very Fine People’
Sequel, RIGHT WING WATCH, https://bit.ly/3rbiK1y (May 1, 2020); Nicholas Bogel-Burroughs et
al., F.B.I. Says Michigan Anti-Government Group Plotted to Kidnap Gov. Gretchen Whitmer,
N.Y. TIMES, https://nyti.ms/3reYRXx (Oct. 8, 2020).
        19
           Maegan Vazquez and Nikki Carvajal, Trump Appears to Give a Pass to the Domestic
Kidnapping Plot Against Whitmer, CNN, https://cnn.it/3rjqqiz (Oct. 27, 2020).
        20
           Katie Shepherd, Trump Cheers Supporters Who Swamped a Biden Bus in Texas,
WASH. POST, https://wapo.st/3kbgp5j (Nov. 2, 2020).

                                                  7
       Case 1:21-cv-00400-APM Document 40-1 Filed 07/28/21 Page 16 of 27




national debate audience in September 2020.21 To the Proud Boys, the message was clear. The

group celebrated amid a surge in membership interest, hawking T-shirts with Trump’s phrase.22

One Proud Boys leader, Joe Biggs, broadcast to his followers on the social-media platform Parler

that Trump’s remarks were an invitation to commit violence against “Antifa”—to “go fuck them

up,” in Briggs’s words.23 Months later, Biggs was among those storming the Capitol.24

       When evaluating the allegations that former President Trump intended to cause violence

on January 6, it is critical to recognize just how unprecedented his actions are compared to those

of his predecessors. Rather than unequivocally condemning political violence, Trump has

publicly encouraged his supporters’ violence for years. This record, unique to former President

Trump, reinforces the plaintiffs’ allegations that he intended unlawful violence to occur on

January 6.

       C.      Trump has cultivated connections to extreme elements of his base that have
               spawned violence.

       Trump’s praise of his supporters’ willingness to commit violence exists in the context of

his ongoing support for people and movements whose conspiratorial views have prompted

violence. These actors, in turn, were key to the violence on January 6.

       Most significant is Trump’s engagement with the QAnon movement since its emergence

in 2018. This increasingly influential movement claims that a “corrupt cabal of ‘global elites’

and ‘deep state’ actors run a Satan-worshiping international child sex trafficking ring.”25 In


       21
          Jane Lytvynenko & Christopher Miller, The Proud Boys Got a Bunch of New
Followers After Trump Said to “Stand By”, BUZZFEED, https://bit.ly/3r6gAAq (Sept. 30, 2020).
       22
          Id.
       23
          Hannah Trudo et al., Far-Right Proud Boys Rally After Trump’s Debate Defense:
‘Fuck Them Up’, DAILY BEAST, https://bit.ly/3B4sb7R (Sept. 30, 2020).
       24
          Aff. Supp. Crim. Compl., United States v. Biggs, Crim. No. 1:21-mj-126-RMM
(D.D.C. filed Jan. 19, 2021) (Doc. 1-1).
       25
          FBI, Adherence to QAnon Conspiracy Theory by Some Domestic Violent Extremists
(June 4, 2021), available at https://bit.ly/2TYtZP6.

                                                 8
      Case 1:21-cv-00400-APM Document 40-1 Filed 07/28/21 Page 17 of 27




August 2019, the FBI identified QAnon and other “conspiracy-theory driven domestic

extremists” as “very likely” to commit violence.26 In each of the three years since QAnon

emerged, QAnon-inspired violence has increased.27 While Trump claimed that he does not

“know anything about [QAnon],” he has praised its followers as “people that love our country.”28

In fact, in 2018 a leading QAnon proponent, Lionel Lebron, was photographed with Trump in

the Oval Office.29 Another leading QAnon proponent, Bill Mitchell, was invited to the White

House in 2019, along with other far-right social-media personalities.30 Indeed, Trump has

repeatedly retweeted QAnon supporters, as many as 14 times in one day.31 Other Trump family

members have done the same.32 And Trump’s long-time confidant Roger Stone even appeared on

a pro-QAnon YouTube channel to say that he “hope[s] Q is real” and that QAnon has been “of

enormous value in this fight for freedom.”33

       QAnon is not the only source of violent extremism that Trump has praised. Early in his

candidacy, Trump appeared on conspiracy theorist Alex Jones’s InfoWars program, a den of far-




       26
           Jana Winter, Exclusive: FBI Document Warns Conspiracy Theories Are a New
Domestic Terrorism Threat, YAHOO! NEWS, https://yhoo.it/3z9H07f (Aug. 1, 2019).
        27
           James Suber, Ctr. for Strategic & Int’l Studies, Examining Extremism: QAnon,
https://bit.ly/3xP2J4a (June 10, 2021).
        28
           Catherine Lucey, Trump Praises QAnon Followers as “People That Love Our
Country”, WALL. ST. J., https://on.wsj.com/3kcH6GU (Aug. 19, 2020).
        29
           Will Sommer & Asawin Suebsaeng, Trump Meets QAnon Kook Who Believes
Democrats Run Pedophile Cult, DAILY BEAST, https://bit.ly/3wwSujz (Aug. 25, 2018).
        30
           Marie C. Baca, Who Was at Trump’s Social Media Summit, WASH. POST.,
https://wapo.st/3hBz1Kj (July 11, 2019).
        31
           Tina Nguyen, Trump Isn’t Secretly Winking at QAnon. He’s Retweeting Its Followers.
POLITICO, https://politi.co/36z3XVa (July 12, 2020).
        32
           Jack Brewster, Eric Trump Promotes QAnon Conspiracy on Instagram While Plugging
Tulsa Rally, FORBES, https://bit.ly/3AYnz36 (June 20, 2020); Alex Kaplan, Lara Trump Shared
a Video from One of the Biggest QAnon Accounts on the Internet, MEDIA MATTERS FOR AM.,
https://bit.ly/3i270KY (Mar. 13, 2020).
        33
           Jared Holt, Longtime Trump Ally Roger Stone: “I Certainly Hope Q Is Real’, RIGHT
WING WATCH, https://bit.ly/3xPQhRI (July 2, 2020).

                                               9
       Case 1:21-cv-00400-APM Document 40-1 Filed 07/28/21 Page 18 of 27




right conspiracy mongering, declaring that Jones’s “reputation is amazing” and promising not to

“let [him] down.” 34 Jones by then had established his reputation through wild anti-government

conspiracy theories: that the 2012 Sandy Hook Elementary School mass shooting was part of a

government plan to confiscate firearms; that then-U.S. Representative Gabby Giffords’s assailant

was the victim of government brainwashing; and that U.S. intelligence agencies carried out the

Oklahoma City bombing, among others.35 By the time Trump appeared on his program, Jones’s

conspiracies had animated several acts of political violence, including an assassination plot

against Barack Obama in 2011 and a 2014 mass shooting in Las Vegas.36 Trump went on to

repeat Jones’s conspiracy theories, such as the notion that Senator Ted Cruz’s father was an

associate of Lee Harvey Oswald or that then-President Obama planned to sign an executive order

to seize people’s guns.37 Jones, long on the fringe of American politics, found it surreal to hear

his ideas emerge from the president’s lips and bragged about his access to Trump.38

       Jones and InfoWars functioned as a center of the violent, conspiratorially minded right.

During the 2015 protests in Ferguson, Missouri, for example, Oath Keepers members served as

protection for then-InfoWars correspondent Joe Briggs, who became an important organizer for




       34
           Frontline, Alex Jones and Donald Trump: How the Candidate Echoed the Conspiracy
Theorist on the Campaign Trail, https://to.pbs.org/3yQmEzQ (July 28, 2020); Jared Holt, Alex
Jones and Eric Bolling Flaunt Their Access to Trump, RIGHT WING WATCH,
https://bit.ly/3i2vBzf (Sept. 13, 2018).
        35
           Elizabeth Williamson, How Alex Jones and Infowars Helped a Florida Man Torment
Sandy Hook Families, N.Y. TIMES, https://nyti.ms/2UUIwv4 (Mar. 29, 2019); Anti-Defamation
League, CNN Gives Platform to Conspiracy Theorist Alex Jones, https://bit.ly/3erYOCA (Jan. 9,
2013).
        36
           Stephanie Mencimer, PizzaGate Shooter Read Alex Jones. Here Are Some Other Fans
Who Perpetrated Violent Acts., MOTHER JONES, https://bit.ly/3ripTgC (Dec. 12, 2016).
        37
           Frontline, supra note 34; Holt, supra note 34.
        38
           Frontline, supra note 34.

                                                 10
       Case 1:21-cv-00400-APM Document 40-1 Filed 07/28/21 Page 19 of 27




the Proud Boys and participant in the January 6 insurrection.39 The Oath Keepers’ leader,

Stewart Rhodes, became a repeat guest on the InfoWars program.40 For his part, Jones has

frequently told listeners to prepare for civil war, and he helped organize post-election protests

that turned violent, including the events of January 6.41

       Trump also elevated a message board (“subreddit”) on the Reddit website,

/r/The_Donald, retweeting its content from his own account.42 Trump personally appeared on the

subreddit to conduct a question and answer session, and Trump’s Deputy Chief of Staff for

Communications Daniel Scavino regularly monitored the subreddit.43 Posts on /r/The_Donald

frequently celebrated politically motivated violence, including calls for violence against

government officials, leading Reddit to limit access and ultimately remove it in 2020.44 Trump

even invited a Reddit user known as CarpeDonktum, who frequently posted memes to

/r/The_Donald, to the White House for a social-media summit and a meet and greet in the Oval




       39
           Victoria Bekiempis, Who Are the Oath Keepers and Why Are They in Ferguson with an
Inforwars.com Reporter?, NEWSWEEK, https://bit.ly/3zaLmuR (Aug. 11, 2015).
        40
           Mike Giglio, A Pro-Trump Militant Group Has Recruited Thousands of Police,
Soldiers, and Veterans, THE ATLANTIC, https://bit.ly/36ClT0Z (Nov. 2020).
        41
           Paul P. Murphy, InfoWars’ Alex Jones Helped Jumpstart January 6 Rally Organization
Efforts, CNN, https://cnn.it/36EWi7z (Jan. 31, 2021); Abby Ohlheiser, A Short History of Alex
Jones Claiming that the Left Is About to Start a Second Civil War, WASH. POST,
https://wapo.st/3hBljqT (July 3, 2018).
        42
           Madison Malone Kircher, Is Donald Trump Getting His News from Reddit?, NEW
YORK, https://nym.ag/2UHLcMv (May 11, 2017); DFRLab, #StopTheSteal: Timeline of Social
Media and Extremist Activities Leading to 1/6 Insurrection, JUST SECURITY,
https://bit.ly/3hyU5kA (Feb. 10, 2021).
        43
           Andrew Restruccia et al., ‘Get Scavino in Here’: Trump’s Twitter Guru Is the Ultimate
Insider, POLITICO, https://politi.co/3B0rix6 (May 6, 2019); Andrew McGill, How Donald Trump
Beat Reddit, THE ATLANTIC, https://bit.ly/3rgB3Tn (July 27, 2016).
        44
           Alex Kaplan, A Pro-Trump Subreddit Is Full of Calls for Violence in Support of
Oregon Republicans, MEDIA MATTERS FOR AM., https://bit.ly/3kBNzvr (June 24, 2019).

                                                 11
      Case 1:21-cv-00400-APM Document 40-1 Filed 07/28/21 Page 20 of 27




Office.45 Once Reddit removed the /r/The_Donald, its users and administrators migrated to a

website they created, TheDonald.win, which promoted many pre-January 6 calls for violence

based on false claims of fraud.46

          One need not speculate about the impact of Trump’s public appreciation on his most

extreme supporters. Their loyalty was no secret. White nationalists seized on Trump’s opposition

to athletes’ kneeling during the national anthem as a recruiting tool.47 When Trump warned that

the country could be headed for civil war at the start of his first impeachment, the Oath Keepers’

founder tweeted his agreement.48 And militia members have voiced their loyalty on message

boards:




Trump, for his part, has long flaunted his supporters’ loyalty, as when he famously bragged in

2016 that he could “stand in the middle of Fifth Avenue and shoot someone, and I wouldn’t lose

any voters.”49

          In short, the 2016 campaign, Trump’s presidency, and the aftermath of the 2020 election

were all marked by significant incidents of pro-Trump violence. Trump knew about the violence,


          45
           Eliza Relman, Carpe Donktum, the Pro-Trump ‘Memesmith” Who Visited the White
House, Is Working with the Creator of the Fake Trump Church Massacre Video, BUS. INSIDER,
https://bit.ly/3AZhcMS (Oct. 14, 2019).
        46
           Jane Lytvynenko & Molly Hensley-Clancy, The Rioters Who Took Over the Capitol
Have Been Planning Online in the Open for Weeks, BUZZFEED, https://bit.ly/3BitWyn (Jan. 6,
2021).
        47
           Michael Edison Hayden, Neo-Nazis and White Nationalists Are Recruiting Trump
Supporters Who Are Mad at Colin Kaepernick, NEWSWEEK, https://bit.ly/3hEhoJS (Oct. 12,
2017).
        48
           Giglio, supra note 40.
        49
           Colin Dwyer, Donald Trump: ‘I Could … Shoot Somebody, and I Wouldn’t Lose Any
Voters, NPR, https://n.pr/3ehTC44 (Jan. 23, 2016).

                                                 12
       Case 1:21-cv-00400-APM Document 40-1 Filed 07/28/21 Page 21 of 27




but rather than condemn the violence outright, he praised his supporters’ enthusiasm, bragged

about their willingness to fight for him, and cultivated the extreme movements from which they

emerged. This long-standing relationship between Trump and his most extreme supporters is

important context for evaluating Trump’s intent surrounding the events of January 6.

II.    Responding to his baseless fraud accusations, Trump’s most extreme supporters
       promised to take up arms if asked. On January 6, they did.




       It was against this backdrop—after bragging about his extremist supporters’ loyalty and

actively courting that loyalty; after years of pro-Trump violence whose perpetrators Trump had

often praised and only grudgingly faulted; and after a month and a half of whipping his

supporters into a frenzy over false claims of a stolen election—that Trump enlisted his supporters

to come to Washington, D.C. on January 6. It “will be wild,” he tweeted.

       To many Americans, the tweet may have appeared as nothing more than a bizarre

prediction. But his most extreme supporters recognized it as something more. To Kelly Meggs,

an Oath Keeper indicted for storming the Capitol on January 6, the message was clear: “Trump

said It’s gonna be wild!!!!!!! . . . . He wants us to make it WILD that’s what he’s saying.”50

Acknowledging D.C.’s strict gun laws, Meggs encouraged other Oath Keepers to bring mace,




       50
         First Superseding Indictment ¶ 35.a, United States v. Caldwell, Crim. No. 1:21-cr-28-
APM (filed Feb. 19, 2021) (Doc. 27).

                                                13
      Case 1:21-cv-00400-APM Document 40-1 Filed 07/28/21 Page 22 of 27




batons, and body armor.51 And on January 6, Meggs and other Oath Keepers violently forced

their way into the Capitol, interrupting Congress’s count of the Electoral College votes.52

       The Oath Keepers had publicly signaled their willingness to engage in violence for

Trump even before the election. Appearing on Alex Jones’s InfoWars—the same program

Trump had appeared on when seeking election—Oath Keepers leader Stewart Rhodes promised

that the group would “protect” Trump voters at the polls and was prepared to post members near

D.C. to avert a “Benghazi-style” attack on the White House.53 After the election, the Oath

Keepers sent out appeals to join the November 14 Million MAGA March to “back-up and defend

President Trump as he fights the ongoing coup that is attempting to steal the election.”54 Echoing

Trump’s earlier “stand by” message to the Proud Boys, Oath Keepers leader Stewart Rhodes

posted on the group’s website on November 10 that the Oath Keepers were ready to commit

violence, but only if Trump approved: “Our men will be standing by, awaiting the President’s

orders to call us up as the militia, which would override D.C.’s ridiculous anti-gun laws.”55 With

his December 19 tweet to descend on Washington for a “wild” day, Trump finally provided the

invitation that the Oath Keepers had said they were waiting for.

       Similarly, the website of the Three Percenters, whose members also attacked the Capitol

January 6, publicly announced that the group was “standing by” to “enter battle,” but only “if we




       51
           Id. ¶ 37.
       52
           Id. ¶ 69.
        53
           Timothy Johnson, Militia Leader Stewart Rhodes Says That His Group Will Be at
Polling Locations and Is Ready to Kill Democrats, MEDIA MATTERS FOR AM.,
https://bit.ly/2UMUWVE (Oct. 28, 2020).
        54
           Oath Keepers, Call to Action! March on DC, Stop the Steal, Defend the President, &
Defeat the Deep State, https://archive.is/ZRvMC#selection-1135.0-1135.143 (archived Nov. 17,
2020).
        55
           Id.

                                                14
       Case 1:21-cv-00400-APM Document 40-1 Filed 07/28/21 Page 23 of 27




are told to.”56 Echoing Trump’s spurious fraud claims, the post began, “The 2020 presidential

election has undoubtedly unveiled that there was widespread election fraud perpetrated against

the American people.”57 Plans for pro-Trump violence proliferated across various far-right

platforms on TheDonald.win, Parler, Telegram, Twitter, and Facebook.58 One commenter on

TheDonald.win forecast that it would “be a literal war on that day,” “[w]here we’ll storm offices

and physically remove and kill all the D.C. traitors and reclaim the country.”59

        To be clear, these calls for violence to remedy a supposedly fraudulent election traced

directly back to former President Trump. When asked in September 2020 if he would commit to

a peaceful transfer of power if he lost, he refused: “[W]e’re going to have to see what happens,”

he responded, adding “You know that I’ve been complaining very strongly about the ballots, and

the ballots are a disaster.”60 Thus, long before January 6, Trump suggested that there would be

violence if he lost.

        Trump’s campaign to challenge the election also cultivated QAnon and its supporters,

who would also be among those who attacked the Capitol. Again and again, Trump retweeted

conspiratorial tweets by long-time QAnon proponent Ron Watkins, who claimed that Dominion

had rigged its machines to cause Trump’s loss.61 Just days before January 6, Lin Wood—a

lawyer who filed fruitless lawsuits contesting the election, met many times with Trump, and

enthusiastically embraced the QAnon conspiracy—called for Mike Pence to “face execution by




        56
           See The Three Percenters – Original, TTPO Stance on Election Fraud,
https://archive.is/YemCC (archived Dec. 16, 2020) (emphasis added).
        57
           Id.
        58
           Jane Lytvynenko & Christopher Miller, supra note 21.
        59
           Id.
        60
           DFRLab, supra note 42.
        61
           Rachel E. Greenspan, Trump Continues to Promote Conspiracy Theories from a
Rapidly Rising QAnon Star, BUS. INSIDER, https://bit.ly/3r8cJCQ (Dec. 15, 2020).

                                                15
       Case 1:21-cv-00400-APM Document 40-1 Filed 07/28/21 Page 24 of 27




firing squad” for opposing a lawsuit that would have allowed Pence to reject Joe Biden’s

victory.62 Ashli Babbitt, whom Capitol Police shot as she forced her way through a window

inside the Capitol on January 6, was an avid QAnon follower who believed that the day would be

“the storm”—the date that QAnon mythology posits that Trump would execute his enemies.63

Another QAnon follower, Douglas Jensen, pushed his way to the front of the crowd to be among

the first in the Capitol.64 Wearing a t-shirt emblazoned with a large “Q,” Jensen wanted to be

among the first to inside so that QAnon could “get the credit.”65

       By January 6, pro-Trump extremists had surrounded the Michigan secretary of state’s

home brandishing weapons and chanting “Stop the Steal”; they had they had displayed weapons

while protesting at the Pennsylvania Capitol; they had gathered heavily armed at the Georgia

Capitol to denounce the “treason” that they claimed was underway; and they had been arrested

with illegal concealed weapons near vote-counting sites in key states after echoing Trump’s false

fraud claims.66 Those same claims, repeated again and again, prompted violent threats against

elections officials across the country just for doing their jobs.67 In a preview of what was to

come, Trump’s supporters gathered in Washington, D.C. on November 14, 2020 and clashed



       62
            Adam Rawnsley, Trump Team Backs Away from Lin Wood After Pence Tweets, DAILY
BEAST, https://bit.ly/3yPHShc (Jan. 1, 2021); Alison Durkee, Trump Turns on Controversial
Attorney Lin Wood and Endorses Opponent, FORBES, https://bit.ly/3hBLDkC (Mar. 30, 2021).
         63
            Peter Jamison et al., ‘The storm is here’: Ashli Babbitt’s Journey from Capital
‘Guardian’ to Invader, WASH. POST., https://wapo.st/36HM6eH (Jan. 10, 2021).
         64
            Statement of Facts 1-2, United States v. Jensen, Crim. No. 1:21-cv-6-TJK (D.D.C. filed
Jan. 8, 2021).
         65
            Id. at 2.
         66
            DFRLab, supra note 42; Christopher Mathias, After Trump’s Defeat, His Supporters
Held a Heavily Armed Pity Party, HUFFINGTON POST, https://bit.ly/3AZ2gOV (Nov. 8, 2020);
Armed Men Arrested Near Phila. Vote Counting Location, AP, https://bit.ly/3B6jKsm (Nov. 5,
2020); Katie Shepherd, Armed Protesters Alleging Voter Fraud Surrounded the Home of
Michigan’s Secretary of State, WASH. POST, https://wapo.st/3yXBRip (Dec. 7, 2020).
         67
            Linda So, Trump-Inspired Death Threats Are Terrorizing Election Workers, REUTERS
https://reut.rs/36D3CRa (June 11, 2021).

                                                 16
       Case 1:21-cv-00400-APM Document 40-1 Filed 07/28/21 Page 25 of 27




violently with counter-protestors.68 On Twitter, Trump blamed the counter-protestors and praised

his supporters, who “aggressively fought back.”69 Again on December 12, Proud Boys and other

Trump supporters engaged in violence in the D.C. streets. One of that day’s speakers was Oath

Keepers leader Stewart Rhodes, who promised that his organization was prepared to engage in a

“desperate” and “bloody war” to keep Trump in power.70

       At the same time, Trump’s many attempts to overturn the election results had failed.

Despite intense pressure from Trump, Republican officials in Arizona and Georgia certified their

states’ pro-Biden election results.71 More than 60 lawsuits had failed to change the results.72 The

Supreme Court rejected Texas’s unprecedented attempt to invalidate the results in Georgia,

Michigan, Pennsylvania, and Wisconsin.73 And Vice President Mike Pence had refused Trump’s

entreaties to unilaterally reject the Electoral College results on January 6.74

       Thus, when Trump hyped his supporters on January 6 in the Ellipse with claims of an

“egregious assault on our democracy” and told them that “you will never take our country back

with weakness,” he stood before them a man who had cultivated his most extreme supporters’

willingness to commit violence for years and who was speaking to a crowd that had already




       68
           Marissa J. Lang et al., After Thousands of Trump Supporters Rally in D.C., Violence
Erupts When Night Falls, WASH. POST, https://wapo.st/3hPMnT5 (Nov. 15, 2020).
        69
           DFRLab, supra note 42.
        70
           Adele M. Stan, Oath Keepers’ Stewart Rhodes Calls for ‘Bloody War’ if Trump
Doesn’t Invoke Insurrection Act, RIGHT WING WATCH, https://bit.ly/2VWpLrz (Dec. 14, 2020).
        71
           Amy Gardner, ‘I Just Want to Find 11,780 Votes’: In Extraordinary Hour-Long Call,
Trump Pressures Georgia Secretary of State to Recalculate the Vote in His Favor, WASH. POST.,
https://wapo.st/3wYfyI4 (Jan. 3, 2021); Amy Gardner, Wisconsin and Arizona Make It Official
as Trump Fails To Stop Vote Certification in All Six States Where He Contested His Defeat,
WASH. POST, https://wapo.st/3BAV7o6 (Nov. 30, 2020).
        72
           William Cummings et al., By the numbers: President Donald Trump’s Failed Efforts to
Overturn the Election, USA TODAY, https://bit.ly/3rxbYDH (Jan. 6, 2021).
        73
           Texas v. Pennsylvania, 141 S. Ct. 1230 (2020).
        74
           Ltr. from V.P. Mike Pence to Congress (Jan. 6, 2021).

                                                  17
       Case 1:21-cv-00400-APM Document 40-1 Filed 07/28/21 Page 26 of 27




promised to commit violence to stop the coup Trump had led them to believe was occurring.75

And he stood before them a man fast running out of options.

       As his supporters attacked the Capitol, Trump reportedly responded to House Republican

leader Kevin McCarthy’s plea for help not with an promise of immediate action or even with

alarm, but with praise for his supporters’ commitment: “I guess these people are more upset

about the election than you are.”76 And when Trump finally did tell his supporters to go home

after they had breached the Capitol, he told them they were “very special,” and “we love you”—

echoing the appreciative sentiments that followed previous incidents of pro-Trump violence.77

Remarkably, Trump and his lawyer, Rudy Giuliani, would reportedly try to capitalize on this

violent disruption to further delay Congress’s certification of President Biden’s victory, urging

Congressional allies to obstruct certification through the end of the next day.78

       In short, Trump’s most violent supporters, who had declared their readiness to commit

violence for Trump only if he asked them to do so, came to Washington on January 6 at Trump’s

behest for a “wild” day and violently attacked the Capitol. Trump, along with the rest of

America, knew his supporters were capable of violence, because they had been committing

violent acts in his name since even before he was elected. He knew it because they continued to

commit violence and participate in armed demonstrations after the election, as Trump promoted

baseless conspiracy theories about a stolen election. And he knew it because he repeatedly




       75
           Annie Karni & Maggie Haberman, Trump Openly Condones Supporters Who Violently
stormed the Capitol, prompting Twitter to lock his account, N.Y. TIMES,
https://nyti.ms/2VxGOjx (Jan. 6, 2021).
        76
           Jamie Gangel et al., New Details About Trump-McCarthy Shouting Match Show Trump
Refused to Call off the Rioters, CNN, https://cnn.it/3kn4qSm (Feb. 12, 2021).
        77
           Karni & Haberman, supra note 75.
        78
           Sunlen Serfaty et al., As Riot Raged at Capitol, Trump Tried to Call Senators to
Overturn Election, CNN, https://cnn.it/3wXgCvD (Jan. 8, 2021).

                                                 18
       Case 1:21-cv-00400-APM Document 40-1 Filed 07/28/21 Page 27 of 27




praised his supporters’ violent tendencies and even asked them to commit violence on his behalf.

The case that Trump intended the violent disruption of Congress’s declaration of Joe Biden’s

victory is made even more plausible by his response to that insurrection. All of this together

makes it—at the very least—plausible that Trump intended to violently disrupt Congress’s

proceedings in a last-ditch effort to avoid the reality that Joe Biden had been elected the next

president.

                                          CONCLUSION

       The issue before the Court now is whether to permit the January 6 cases to proceed to

discovery. Insofar as that issue turns on the plausibility of the plaintiffs’ allegations that Trump

intended for his supporters to violently disrupt Congress’s proceedings on January 6, there is

ample, publicly available information to reinforce that the allegations clear that bar.



                                                       Respectfully submitted:

                                                       /s/ Jonathan L. Williams
                                                       Jonathan L. Williams
                                                       D.C. Bar No. 999708
                                                       JONATHAN L. WILLIAMS, P.A.
                                                       113 South Monroe Street, First Floor
                                                       Tallahassee, FL 32301
                                                       (850) 706-0940
                                                       jw@jonathanwilliamslaw.com

                                                       Christine P. Sun
                                                       STATES UNITED DEMOCRACY CENTER
                                                       3749 Buchanan St., No. 475165
                                                       San Francisco, CA 94147-3103
                                                       (615) 574-9108
                                                       christine@statesuniteddemocracy.org

                                                       Counsel for Amicus Curiae Jared Holt




                                                 19
